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14                                     UNITED STATES DISTRICT COURT

15                                    NORTHERN DISTRICT OF CALIFORNIA

16                                        SAN FRANCISCO DIVISION

17   Waymo LLC,                                       Case No. 3:17-cv-00939-WHA

18                       Plaintiff,                   DECLARATION OF HAYES P. HYDE IN
                                                      SUPPORT OF PLAINTIFF'S
19           v.                                       ADMINISTRATIVE MOTION TO FILE
                                                      UNDER SEAL PORTIONS OF ITS
20   Uber Technologies, Inc.; Ottomotto LLC; Otto     RESPONSE TO DEFENDANTS’ BRIEFS
     Trucking LLC,                                    REGARDING LEVANDOWSKI’S
21                                                    ADVERSE INFERENCES [DKT. NO. 896]
                         Defendants.
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     ACTIVE/91889494.1
     HYDE DECLARATION ISO WAYMO'S ADMINISTRATIVE MOTION TO FILE UNDER
     SEAL                                       CASE NO. 3:17-CV-00939-WHA
        Case 3:17-cv-00939-WHA Document 947 Filed 07/18/17 Page 2 of 3



 1           I, Hayes P. Hyde, declare as follows:

 2           1.          I am an attorney at the law firm of Goodwin Procter, LLP. I make this declaration

 3   based upon matters within my own personal knowledge and if called as a witness, I could and

 4   would competently testify to the matters set forth herein. I make this declaration in support of

 5   Plaintiff’s Administrative Motion to File Under Seal Portions of Its Response to Defendants’ Briefs

 6   Regarding Levandowski’s Adverse Inferences [Dkt. No. 896] .

 7           2.          I have reviewed the following documents and confirmed that only the portions

 8   identified below merit sealing:

 9                                       Document                           Portions to Be Filed Under Seal
10                Plaintiff Waymo LLC’s Response to Defendants’             Marked portions (in red boxes)
                  Briefs Regarding Levandowski’s Adverse
11                Inferences (“Response”)
12           3.          The marked portions (in red boxes) of the Response include highly confidential,
13   sensitive business information relating to the terms of Otto Trucking’s agreements and corporate
14   structure as well as information that may be highly confidential and sensitive related to co-
15   defendants Uber an Ottomotto. This information is not publicly known, and this information’s
16   confidentiality is strictly maintained. I understand that this information could be used by
17   competitors to Otto Trucking’s detriment, including in the context of negotiating business deals. If
18   such information were made public, I understand Otto Trucking’s competitive standing could be
19   significantly harmed.
20           4.          Defendant’s request to seal is narrowly tailored to those portions of the Plaintiff’s
21   Motion and its supporting papers that merit sealing.
22           I declare under penalty of perjury under the laws of the United States that the foregoing is
23   true and correct. Executed this 18th day of July, 2017 in Menlo Park, California.
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                                                                /s/ Hayes P. Hyde
25                                                                  Hayes P. Hyde
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     HYDE DECLARATION ISO WAYMO'S ADMINISTRATIVE MOTION TO FILE UNDER
     SEAL                                       CASE NO. 3:17-CV-00939-WHA
        Case 3:17-cv-00939-WHA Document 947 Filed 07/18/17 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE

 2           I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the

 3   United States District Court for the Northern District of California by using the CM/ECF system

 4   on July 18, 2017. I further certify that all participants in the case are registered CM/ECF users

 5   and that service will be accomplished by the CM/ECF system.

 6           I certify under penalty of perjury that the foregoing is true and correct. Executed this 18th

 7   day of July 2017.
                                                                    /s/ Hayes P. Hyde
 8                                                                     Hayes P. Hyde
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     SEAL                                       CASE NO. 3:17-CV-00939-WHA
